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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

MATTHEW MAYNARD, individually,                  §
and on behalf of Maynard Investment             §
Group, LLC d/b/a Discount Sport                 §
Nutrition,                                      §
                                                §
                               Plaintiff,       §
                                                § Civil Action No. 3:18-CV-0259-D
VS.                                             §
                                                §
PAYPAL, INC., et al.,                           §
                                                §
                               Defendants.      §

                                              ORDER

        On December 29, 2017 plaintiff filed in state court an original petition and application for

temporary restraining order and temporary injunction (“preliminary injunction”). Pursuant to Fed.

R. Civ. P. 43(c), the court will decide the application on the basis of affidavits, declarations,

deposition excerpts, and/or exhibits. See, e.g., FSLIC v. Dixon, 835 F.2d 554, 558-59 (5th Cir.

1987); E. E. Maxwell Co. v. Arti Decor, Ltd., 638 F. Supp. 749, 751 n.3 (N.D. Tex. 1986) (Fitzwater,

J.). The court will convene an evidentiary hearing only if necessary to resolve a controlling fact

issue that involves a determination of witness credibility. This order governs the timing and content

of the required submissions.

                                                  I

        Plaintiff must file his supporting materials and a separate brief by electronic means. Until

these documents are filed, the court will not calendar the application internally for decision, and no

opposing party is required to respond.

        The brief must comply with local civil rule 7.2, except that the page limit of LR 7.2(c) is

hereby enlarged to 50 pages. Supporting materials must be contained in an appendix, in the form
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prescribed by § IV of this order. The brief must include citations to each page of the appendix that

supports each assertion made concerning the evidence.

       If a party against whom injunctive relief is sought has not yet appeared and is not a registered

user of ECF in this case, the appendix and brief must be served on the party no later than the

calendar day (including Saturdays and legal holidays) that follows the date they are filed with the

clerk of court. Otherwise, delivery of the notice of electronic filing that is automatically generated

by ECF when the appendix and brief are filed by electronic means constitutes service under Fed. R.

Civ. P. 5(b)(2)(E) on each party who is a registered user of ECF in this case.

                                                  II

       Defendants must file their opposition materials, and a separate brief, no later than 21 days

after the documents required in § I are filed with the clerk of court.

       The brief must comply with local civil rule 7.2, except that the page limit of LR 7.2(c) is

hereby enlarged to 50 pages. Opposition materials must be contained in an appendix, in the form

prescribed by § IV of this order. The brief must include citations to each page of the appendix that

supports each assertion made concerning the evidence.

       If a party entitled to service of the opposition materials and brief has not yet appeared and

is not a registered user of ECF in this case, the opposition materials and brief must be served on the

party no later than the calendar day (including Saturdays and legal holidays) that follows the date

they are filed with the clerk of court. Otherwise, delivery of the notice of electronic filing that is

automatically generated by ECF when the opposition materials and brief are filed by electronic

means constitutes service under Fed. R. Civ. P. 5(b)(2)(E) on each party who is a registered user of

ECF in this case.


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                                                 III

       Plaintiff may file a reply brief, but not additional evidence (unless leave of court is first

obtained), no later than 14 days after the documents required by § II of this order are filed with the

clerk of court. The brief must comply with local civil rule 7.2, except that the page limit of LR

7.2(c) is hereby enlarged to 25 pages.

       If a party against whom injunctive relief is sought has not yet appeared and is not a registered

user of ECF in this case, the reply brief must be served on the party no later than the calendar day

(including Saturdays and legal holidays) that follows the date they are filed with the clerk of court.

Otherwise, delivery of the notice of electronic filing that is automatically generated by ECF when

the reply brief is filed by electronic means constitutes service under Fed. R. Civ. P. 5(b)(2)(E) on

each party who is a registered user of ECF in this case.

                                                 IV

       Evidentiary materials must be contained in an appendix that meets the following

requirements: (A) The appendix must be assembled as a self-contained document, separate from the

brief. (B) Non-documentary exhibits (e.g., videotapes and other physical exhibits) and oversized

exhibits (e.g., maps and schematic drawings) that are included in the appendix must be filed on

paper, not by electronic means, and be placed in an envelope that measures 9 x 12 inches. (C) Each

page of the appendix must be numbered legibly in the lower, right-hand corner. The first page must

be numbered as “1,” and succeeding pages must be numbered sequentially through the last page of

the entire appendix (i.e., the numbering system must not re-start with each succeeding document in

the appendix). An envelope that contains a non-documentary or oversized exhibit must be numbered

as if it were a single page of the appendix.


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                                                  V

        Plaintiff is not required to serve a copy of this order on any party who has already appeared

in this case (in this court or in state court prior to removal) and is a registered user of ECF in this

case. Otherwise, plaintiff must promptly serve a copy of this order on every party against whom

injunctive relief is sought.

        SO ORDERED.

        February 5, 2018.



                                               _________________________________
                                               SIDNEY A. FITZWATER
                                               UNITED STATES DISTRICT JUDGE




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